                Case 1:23-cv-05751-LGS Document 15 Filed 08/04/23 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 THE ROMAN CATHOLIC DIOCESE OF                                    :     23 Civ. 5751 (LGS)
 ROCKVILLE CENTRE, NEW YORK,                                      :
                           Petitioner.                            :          ORDER
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, an initial telephonic hearing in this matter was held on August 3, 2023;

        WHEREAS, the July 13, 2023, Order instructed any person or entity who intends to seek to

intervene to send a pre-motion letter to Petitioner for forwarding to the Court. Petitioner received and

filed letters from counsel for the Committee of Unsecured Creditors in the related bankruptcy action (the

“Committee”) and seventeen other counsel on behalf of other putative intervenors (Dkt. No. 13-1).

Petitioner does not object to any of these requests for intervention.

        WHEREAS, each of the proposed intervenors shall be grouped according to the law firm or

firms that filed a letter on their behalf. Those groupings are (1) the Committee; (2) Pachulski, Stand

Ziehl & Jones; (3) Andreozzi & Foote; (4) Bonina & Bonina, P.C.; (5) Herman Law; (6) Jeff Anderson

& Associates; (7) Matthews & Associates; (8) Merson Law, PLLC; (9) Law Offices of Mitchell

Garabedian; (10) Noaker Law Firm LLC; (11) Pfau Cochran Vertetis Amala PLLC/Marsh Law Firm;

(12) Phillips & Paolicelli LLP; (13) Robins Kaplan LLP; (14) Slater Slater Schulman LLP; (15)

Sweeney, Reich & Bolz/Law Office of Michael G. Dowd/Paul Mones, P.C.; (16) Weitz & Luxenberg,

P.C.; (17) Worlock, Pollock, Green (individual attorneys); (18) Zalkin Law Firm, P.C. It is hereby

        ORDERED that the pre-motion letters are treated as motions to intervene and are GRANTED.

It is further
               Case 1:23-cv-05751-LGS Document 15 Filed 08/04/23 Page 2 of 2




          ORDERED that Petitioner shall serve a copy of this Order on each of the above counsel for

intervenors by August 9, 2023. It is further

          ORDERED that one attorney for each of the above groups shall file a notice of appearance on

ECF by August 11, 2023. Multiple attorneys for the Committee may file notices of appearance. It is

further

          ORDERED that any additional persons or entities who intend to seek to intervene shall send a

letter, not to exceed two pages, to Petitioner. Petitioner shall promptly forward any such letters in a

filing along with a statement of whether it objects to the request for intervention.

          Dated: August 4, 2023
                 New York, New York
